               Case: 3:21-po-01000-slc Document #: 4 Filed: 11/10/21 Page 1 of 1
                                    UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                v.

         L Tr.pktt ,                                             Violation No.:
                                                                                    ?0L o ?6 3
                               Defendant.


                           STIPULATION, AGREEMENT, AND ORDER



The United States and the defendant stipulate and agree that the defendant received citation(s) for:
 ?0U>y62 -Ownfri (A.'k tftAW, ?o2c>f6/-                          M\J j(f>
(Note citation number and offense description above).                               fi./                    <*/Il'O
The United States will amend citation number                   to allege a violation of:
                      ^aA>WV
Pursuant to Fed. R. Crim. P. 58(d), the defendant agrees not to contest the violation(s) and to pay $
on or before              with a check or money order to the Central Violations Bureau, P.O. Box 780549
San Antonio, TX 78278 or through the online payment system at www.cvb.uscourts.gov. In exchange, upon
payment of the fine noted above, the United States will dismiss any other currently-pending Western
District of Wisconsin citations against the defendant that are known to this U.S. Attorney's Office. The
defendant understands that the Court will sign this Stipulation, Agreement, and Order and that failing to
pay the agreed fine amount could subject the defendant to contempt charges and arrest.


    MV
Assistant United States Attorney
                                                     Defendant name (printed)




Date
    mm                             c                           t signature


       Upon receipt of this agreement, it is ORDERED that judgment of conviction be entered into in
accordance with the charge(s) set forth above and the defendant pay the amount required under this
agreement.

                                                                                  \i^-u
                                       STEPHEN L. CROCKER                            Date
                                       United States Magistrate Judge
